    Case: 2:13-cr-00284-EAS Doc #: 80 Filed: 12/01/14 Page: 1 of 2 PAGEID #: 166



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



UNITED STATES OF AMERICA,

                          Plaintiff,


                  vs.                                            CASE NO.: 2:13-cr-284
                                                                 JUDGE SMITH
                                                                 MAGISTRATE JUDGE DEAVERS

KEVIN WHITELY,

                          Defendant.


                                                ORDER

           On October 28, 2014, the Magistrate Judge issued a Report and Recommendation pursuant

to 28 U.S.C. § 636(b)(1), recommending that the Court accept Defendant’s guilty plea to a

Superseding Information charging him with conspiracy to possess with intent to distribute more than

1000 kilograms of marijuana, in violation of 21 U.S.C. § 846, and money laundering, in violation

of 18 U.S.C. §1956(a)(1)(B)(i).

           Defendant, represented by counsel, waived his right to appear on the matter before a District

Judge. The Magistrate Judge conducted the colloquy required by Rule 11 of the Federal Rules of

Criminal Procedure. Defendant’s plea was knowing, voluntary, free from coercion, and had a basis

in fact.

           Defendant was specifically informed of his right to contest the Report and Recommendation

by filing any objections within 14 days of the issuance of the Report and Recommendation pursuant

to 28 U.S.C. §636(b)(1)(B) and Rule 72(b) of the Federal Rules of Civil Procedure. Defendant did

not file any objections.
   Case: 2:13-cr-00284-EAS Doc #: 80 Filed: 12/01/14 Page: 2 of 2 PAGEID #: 167




       Accordingly, the Court ADOPTS the Report and Recommendation and ACCEPTS

Defendant’s plea of guilty to the Superseding Information. Defendant is hereby adjudged guilty of

conspiracy to possess with intent to distribute more than 1000 kilograms of marijuana and money

laundering.

              IT IS SO ORDERED.


                                                     /s/ George C. Smith
                                                     GEORGE C. SMITH, JUDGE
                                                     UNITED STATES DISTRICT COURT




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